          Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 1 of 30




                                            08-20636-CIV-UNGARO/O'SULLIVAN


                                                                                 MAR. 11, 2008




1 of 30
          Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 2 of 30




2 of 30
          Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 3 of 30




3 of 30
          Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 4 of 30




4 of 30
          Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 5 of 30




5 of 30
          Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 6 of 30




6 of 30
          Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 7 of 30




7 of 30
          Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 8 of 30




8 of 30
          Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 9 of 30




9 of 30
           Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 10 of 30




10 of 30
           Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 11 of 30




11 of 30
           Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 12 of 30




12 of 30
           Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 13 of 30




13 of 30
           Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 14 of 30




14 of 30
           Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 15 of 30




15 of 30
           Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 16 of 30




16 of 30
           Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 17 of 30




17 of 30
           Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 18 of 30




18 of 30
           Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 19 of 30




19 of 30
           Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 20 of 30




20 of 30
           Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 21 of 30




21 of 30
           Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 22 of 30




22 of 30
           Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 23 of 30




23 of 30
           Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 24 of 30




24 of 30
           Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 25 of 30




25 of 30
           Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 26 of 30




26 of 30
           Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 27 of 30




27 of 30
           Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 28 of 30




28 of 30
           Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008 Page 29 of 30




29 of 30
08-20636-CIV-UNGARO/O'SULLIVAN
    Case 1:08-cv-20636-UU Document 1 Entered on FLSD Docket 03/11/2008   Page 30 of 30

                                                                            MAR. 11, 2008




30 of 30
